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 EXHIBIT E
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 1 David V. Roth (State Bar No. 194648)
       dvr@manningllp.com
 2 Gabriella Pedone (State Bar No. 308384)
       gap@manningllp.com
 3 MANNING & KASS
     ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
     San Francisco, California 94111
 5 Telephone: (415) 217-6990
     Facsimile: (415) 217-6999
 6
     Attorneys for Defendant, TARGET
 7 CORPORATION

 8                               UNITED STATES DISTRICT COURT
 9     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11 BRYON JACKSON,                                  Case No. 3:21-cv-08458-LB
12                      Plaintiff,
13             v.                                  DEFENDANT TARGET
                                                   CORPORATIONS' RESPONSE TO
14 TARGET CORPORATION,                             FIRST SET OF REQUESTS FOR
                                                   PRODUCTION PROPOUNDED BY
15                      Defendant.                 PLAINTIFF BRYON JACKSON
16

17
     PROPOUNDING PARTY: Plaintiff BRYON JACKSON
18
     RESPONDING PARTY:                Defendant TARGET CORPORATION
19
     SET NO.:                         One
20
              Pursuant to Federal Rule of Civil Procedure 34, Defendant TARGET
21
     CORPORATION ("Responding Parties") submit these responses and objections to
22
     the First Set of Requests for Production propounded by Plaintiff BRYON JACKSON
23
     ("Propounding Party").
24
     PRELIMINARY STATEMENT
25
              Responding Parties have not completed their investigation of the facts relating
26
     to this case, their discovery or their preparation for trial. All responses and objections
27
     contained herein are based only upon information that is presently available to and
28
     4893-7827-5373.1                                              Case No. 3:21-cv-08458-LB
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 1 specifically known by Responding Parties. It is anticipated that further discovery,

 2 independent investigation, legal research and analysis will supply additional facts and

 3 add meaning to known facts, as well as establish entirely new factual conclusions and

 4 legal contentions, all of which may lead to substantial additions to, changes in and

 5 variations from the responses set forth herein.

 6            These responses, while based on diligent inquiry and investigation by
 7 Responding Parties, reflect only the current state of Responding Parties' knowledge,

 8 understanding, and belief, based upon the information reasonably available to them

 9 at this time. As this action proceeds, and further investigation and discovery are

10 conducted, additional or different facts and information could be revealed to

11 Responding Parties. Moreover, Responding Parties anticipate that Propounding Party

12 may make legal or factual contentions presently unknown to and unforeseen by

13 Responding Parties which may require Responding Parties to adduce further facts in

14 rebuttal to such contentions. Consequently, Responding Parties may not yet have

15 knowledge and may not fully understand the significance of information potentially

16 pertinent to these responses.       Accordingly, these responses are provided without
17 prejudice to Responding Parties' right to rely upon and use any information that they

18 subsequently discover, or that was omitted from these responses as a result of mistake,
19 inadvertence, surprise, or excusable neglect.          Without in any way obligating
20 themselves to do so, Responding Parties reserve the right to modify, supplement,

21 revise, or amend these responses, and to correct any inadvertent errors or omissions

22 which may be contained herein, in light of the information that Responding Parties

23 may subsequently obtain or discover.

24            Nothing in this response should be construed as an admission by Responding
25 Parties with respect to the admissibility or relevance of any fact or document, or of

26 the truth or accuracy of any characterization or statement of any kind contained in

27 Propounding Party's requests.

28            Each of the following responses is made solely for the purpose of this action.
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 1 Each response is subject to all objections as to relevance, materiality, and

 2 admissibility, and to any and all objections on any ground that would require

 3 exclusion of any response if it were introduced in court. All objections and grounds

 4 are expressly reserved and may be interposed at the time of trial, hearing, or otherwise.

 5 Furthermore, each of the objections contained herein is incorporated by reference as

 6 though fully set forth in each response.

 7        The following objections and responses are made without prejudice to
 8 Responding Parties' right to produce at trial, or otherwise, evidence regarding any

 9 subsequently discovered information. Responding Parties accordingly reserve the

10 right to modify and amend any and all responses herein as research is completed and

11 contentions are made.

12        Nothing contained herein is to be construed as a waiver of any attorney-client
13 privilege, work product doctrine, or any other applicable privilege or doctrine. To the

14 extent any interrogatory may be construed as calling for disclosure of information

15 protected from discovery by the attorney-client privilege, the work product doctrine,

16 or any other privilege or protection, a continuing objection to each and every such

17 interrogatory is hereby interposed.

18 GENERAL OBJECTIONS TO REQUESTS FOR PRODUCTION
19        Responding Parties generally object to the Requests for Production as follows:
20        1.     Responding Parties object generally to the Requests for Production to
21 the extent that they seek to elicit information that is neither relevant to the subject

22 matter of this action, nor reasonably calculated to lead to the discovery of admissible

23 evidence;

24        2.     Responding Parties object generally to the Requests for Production to
25 the extent that they are unreasonably overbroad in scope, and thus burdensome and

26 oppressive, in that each such request seeks information pertaining to items and matters

27 that are not relevant to the subject matter of this action, or, if relevant, so remote

28 therefrom as to make its disclosure of little or no practical benefit to Propounding
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 1 Party, while placing a wholly unwarranted burden and expense on Responding Parties

 2 in locating, reviewing and producing the requested information;

 3            3.        Responding Parties object generally to the Requests for Production to
 4 the extent that they are burdensome and oppressive, in that ascertaining the

 5 information necessary to respond to them, and to produce documents in accordance

 6 therewith, would require the review and compilation of information from multiple

 7 locations, and voluminous records and files, thereby involving substantial time of

 8 employees of Responding Parties and great expense to Responding Parties, whereas

 9 the information sought to be obtained by Propounding Party would be of little use or

10 benefit to Propounding Party;

11            4.        Responding Parties object generally to the Requests for Production to
12 the extent that they are vague, uncertain, overbroad, and without limitation as to time

13 or specific subject matter;

14            5.        Responding Parties object generally to the Requests for Production to
15 the extent that they seek information at least some of which is protected by the

16 attorney-client privilege or the attorney work-product doctrine, or both;

17            6.        Responding Parties object generally to the Requests for Production to
18 the extent that they seek to have Defendant furnish information and identify
19 documents that are a matter of the public record, and therefore are equally available

20 to the Propounding Party as they are to Responding Parties; and

21            7.        Responding Parties object generally to the Requests for Production to
22 the extent that they seek to have Responding Parties furnish information and identify

23 documents that are proprietary to Responding Parties and contain confidential

24 information.

25            Without waiver of the foregoing, Responding Parties further responds as
26

27

28
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 1 follows:

 2 RESPONSES TO REQUESTS FOR PRODUCTION

 3 REQUEST FOR PRODUCTION NO. 1:

 4            Any and All DOCUMENTS that prove, disprove, or in any way relate to or
 5 support YOUR cause of action, that this INCIDENT did NOT occur.

 6 RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

 7            Objection. This request assumes facts not in evidence and is vague and
 8 ambiguous as to "YOUR cause of action." Objection. This request is not reasonably

 9 calculated to lead to the discovery of admissible evidence. (See Brokopp v. Ford

10 Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases, Responding Party objects

11 that the request is unduly burdensome, harassing, and oppressive. Objection. This

12 request is irrelevant in violation of California Code of Civil Procedure §

13 2030.030(a)(1). This demand potentially calls for the disclosure of information and

14 documents that are proprietary and trade secret.       Responding Party objects to this
15 interrogatory on the grounds that it is overbroad, burdensome, oppressive and

16 harassing as to scope and time. Objection, this request is also overly broad and not

17 reasonably calculated to lead to discovery of admissible evidence. Further, this

18 request unintelligible as Defendant did not file a cross-complaint and thus does not
19 allege any causes of action.

20            Upon information and belief: After a diligent search and reasonable inquiry,
21 Responding Party is unable to comply with this request as responsive documents are

22 not known to exist and have never been in the possession, custody or control of

23 Responding Party. Responding Party does not allege any causes of action, did not file

24 a cross-complaint and does not allege that an incident did not occur.

25            Discovery and investigation are ongoing. Responding Party reserves the right
26 to amend and/or supplement these responses as additional information or

27 documentation becomes available.

28
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 1 REQUEST FOR PRODUCTION NO. 2:

 2        Any or all DOCUMENTS that tend to prove, disprove, or in any way relate to
 3 or support YOUR contention that TARGET, DID NOT negligently maintained the

 4 PROPERTY on the date of the INCIDENT to cause PLAINTIFF injury.

 5 RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

 6        Objection. This request is not reasonably calculated to lead to the discovery of
 7 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

 8 851. On these bases, Responding Party objects that the request is unduly burdensome,

 9 harassing, and oppressive. Objection. This request is irrelevant in violation of

10 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

11 for the disclosure of information and documents that are proprietary and trade secret.

12 Responding Party objects to this interrogatory on the grounds that it is overbroad,

13 burdensome, oppressive and harassing as to scope and time. .             Further, this
14 interrogatory calls for disclosure of information which is violative of the right to

15 privacy as specified in California Constitution Article 1, Section 1.Objection. This

16 request is not reasonably calculated to lead to the discovery of admissible evidence.

17 (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases,

18 Responding Party objects that the request is unduly burdensome, harassing, and
19 oppressive. Objection. This request is irrelevant in violation of California Code of

20 Civil Procedure § 2030.030(a)(1). This demand potentially calls for the disclosure of

21 information and documents that are proprietary and trade secret. Responding Party

22 objects to this interrogatory on the grounds that it is overbroad, burdensome,

23 oppressive and harassing as to scope and time. . Further, this interrogatory calls for

24 disclosure of information which is violative of the right to privacy as specified in

25 California Constitution Article 1, Section 1. Objection. This request is not reasonably

26 calculated to lead to the discovery of admissible evidence. (See Brokopp v. Ford

27 Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases, Responding Party objects

28 that the request is unduly burdensome, harassing, and oppressive. Objection. This
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 1 request is irrelevant in violation of California Code of Civil Procedure §

 2 2030.030(a)(1). This demand potentially calls for the disclosure of information and

 3 documents that are proprietary and trade secret.       Responding Party objects to this
 4 interrogatory on the grounds that it is overbroad, burdensome, oppressive and

 5 harassing as to scope and time. . Further, this interrogatory calls for disclosure of

 6 information which is violative of the right to privacy as specified in California

 7 Constitution Article 1, Section 1.

 8          Objection this request calls for documents protected by the right of privacy,
 9 attorney-client privilege and work product doctrine, and seeks documents not

10 reasonably calculated to lead to discovery of admissible evidence.

11 REQUEST FOR PRODUCTION NO. 3:

12          Any and all statements of witnesses regarding that this INCIDENT did NOT
13 occur.

14 RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

15          Objection. This request is not reasonably calculated to lead to the discovery of
16 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

17 851. On these bases, Responding Party objects that the request is unduly burdensome,

18 harassing, and oppressive. Objection. This request is irrelevant in violation of
19 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

20 for the disclosure of information and documents that are proprietary and trade secret.

21 Responding Party objects to this interrogatory on the grounds that it is overbroad,

22 burdensome, oppressive and harassing as to scope and time. .               Further, this
23 interrogatory calls for disclosure of information which is violative of the right to

24 privacy as specified in California Constitution Article 1, Section 1. Upon information

25 and belief: After a diligent search and reasonable inquiry, Responding Party is unable

26 to comply with this request as responsive documents are not known to exist and have

27 never been in the possession, custody or control of Responding Party. Responding

28 Party did not make a contention that an incident did not occur.
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 1            Discovery and investigation are ongoing. Responding Party reserves the right
 2 to amend and/or supplement these responses as additional information or

 3 documentation becomes available.

 4 REQUEST FOR PRODUCTION NO. 4:

 5            Any and all reports discussing or describing any inspections made of the
 6 premises where this INCIDENT occurred.

 7 RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

 8            Objection, this request is vague and ambiguous as to "any inspection made."
 9 Objection. This request is not reasonably calculated to lead to the discovery of

10 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

11 851. On these bases, Responding Party objects that the request is unduly burdensome,

12 harassing, and oppressive. Objection. This request is irrelevant in violation of

13 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

14 for the disclosure of information and documents that are proprietary and trade secret.

15 Responding Party objects to this interrogatory on the grounds that it is overbroad,

16 burdensome, oppressive and harassing as to scope and time. .                Further, this
17 interrogatory calls for disclosure of information which is violative of the right to

18 privacy as specified in California Constitution Article 1, Section 1. After a diligent
19 search and reasonable inquiry, Responding Party will comply with this request and

20 produce all non-privileged, responsive documents within its possession, custody and

21 control upon agreement by the parties that such documents are subject to the parties'

22 Stipulation and Protective Order.

23            Discovery and investigation are ongoing. Responding Party reserves the right
24 to amend and/or supplement these responses as additional information or

25 documentation becomes available.

26 REQUEST FOR PRODUCTION NO. 5:

27            Any and all reports discussing or describing the alleged INCIDENT.
28
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 1 RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

 2        Objection, this request is vague and ambiguous as to "any inspection made."
 3 Objection. This request is not reasonably calculated to lead to the discovery of

 4 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

 5 851. On these bases, Responding Party objects that the request is unduly burdensome,

 6 harassing, and oppressive. Objection. This request is irrelevant in violation of

 7 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

 8 for the disclosure of information and documents that are proprietary and trade secret.

 9 Responding Party objects to this interrogatory on the grounds that it is overbroad,

10 burdensome, oppressive and harassing as to scope and time. .            Further, this
11 interrogatory calls for disclosure of information which is violative of the right to

12 privacy as specified in California Constitution Article 1, Section 1. After a diligent

13 search and reasonable inquiry, Responding Party will comply with this request and

14 produce all non-privileged, responsive documents within its possession, custody and

15 control upon agreement by the parties that such documents are subject to the parties'

16 Stipulation and Protective Order.

17        Discovery and investigation are ongoing. Responding Party reserves the right
18 to amend and/or supplement these responses as additional information or
19 documentation becomes available.

20 REQUEST FOR PRODUCTION NO. 6:

21        Any and all photographs or video recordings depicting the scene of the
22 INCIDENT.

23 RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

24        Objection, this request is vague and ambiguous as to "any inspection made."
25 Objection. This request is not reasonably calculated to lead to the discovery of

26 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

27 851. On these bases, Responding Party objects that the request is unduly burdensome,

28 harassing, and oppressive. Objection. This request is irrelevant in violation of
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 1 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

 2 for the disclosure of information and documents that are proprietary and trade secret.

 3 Responding Party objects to this interrogatory on the grounds that it is overbroad,

 4 burdensome, oppressive and harassing as to scope and time. .             Further, this
 5 interrogatory calls for disclosure of information which is violative of the right to

 6 privacy as specified in California Constitution Article 1, Section 1. Objection. This

 7 request seeks Target's confidential and proprietary documents, that may be produced

 8 following the Court's signing of the Stipulated Protective Order. After a diligent

 9 search and reasonable inquiry, Responding Party will comply with this request and

10 produce all non-privileged, responsive documents within its possession, custody and

11 control upon agreement by the parties that such documents are subject to the parties'

12 Stipulation and Protective Order. Pursuant to this order, Target will produce the

13 following confidential documents: a link with the video footage that6 captures the

14 incident.

15        Discovery and investigation are ongoing. Responding Party reserves the right
16 to amend and/or supplement these responses as additional information or

17 documentation becomes available.

18 REQUEST FOR PRODUCTION NO. 7:
19        Any and all photographs or video that this INCIDENT did NOT occur.
20 RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

21        Objection, this request is vague and ambiguous as to "any inspection made."
22 Objection. This request is not reasonably calculated to lead to the discovery of

23 admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

24 851. On these bases, Responding Party objects that the request is unduly burdensome,

25 harassing, and oppressive. Objection. This request is irrelevant in violation of

26 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

27 for the disclosure of information and documents that are proprietary and trade secret.

28 Responding Party objects to this interrogatory on the grounds that it is overbroad,
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 1 burdensome, oppressive and harassing as to scope and time. Further, this interrogatory

 2 calls for disclosure of information which is violative of the right to privacy as

 3 specified in California Constitution Article 1, Section 1. Objection. This request seeks

 4 Target's confidential and proprietary documents, that may be produced following the

 5 Court's signing of the Stipulated Protective Order.        After a diligent search and
 6 reasonable inquiry, Responding Party will comply with this request and produce all

 7 non-privileged, responsive documents within its possession, custody and control upon

 8 agreement by the parties that such documents are subject to the parties' Stipulation

 9 and Protective Order. Pursuant to this order, Target will produce the following

10 confidential documents: a link with the video footage that captures the incident.

11        Discovery and investigation are ongoing. Responding Party reserves the right
12 to amend and/or supplement these responses as additional information or

13 documentation becomes available.

14 REQUEST FOR PRODUCTION NO. 8:

15        Any and all DOCUMENTS evidencing, this INCIDENT did NOT occur.
16 RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

17        Objection. This request assumes facts not in evidence and is vague and
18 ambiguous as to "YOUR cause of action." Objection. This request is not reasonably
19 calculated to lead to the discovery of admissible evidence. (See Brokopp v. Ford

20 Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases, Responding Party objects

21 that the request is unduly burdensome, harassing, and oppressive. Objection. This

22 request is irrelevant in violation of California Code of Civil Procedure §

23 2030.030(a)(1). This demand potentially calls for the disclosure of information and

24 documents that are proprietary and trade secret.      Responding Party objects to this
25 interrogatory on the grounds that it is overbroad, burdensome, oppressive and

26 harassing as to scope and time. Objection, this request is also overly broad and not

27 reasonably calculated to lead to discovery of admissible evidence. Further, this

28 request unintelligible as Defendant did not file a cross-complaint and thus does not
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 1 allege any causes of action.

 2        Upon information and belief: After a diligent search and reasonable inquiry,
 3 Responding Party is unable to comply with this request as responsive documents are

 4 not known to exist and have never been in the possession, custody or control of

 5 Responding Party as Responding Party does not allege that an incident did not occur.

 6        Discovery and investigation are ongoing. Responding Party reserves the right
 7 to amend and/or supplement these responses as additional information or

 8 documentation becomes available.

 9 REQUEST FOR PRODUCTION NO. 9:

10        Any and all evidence that this INCIDENT did NOT occur.
11 RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

12        Objection. This request assumes facts not in evidence and is vague and
13 ambiguous as to "YOUR cause of action." Objection. This request is not reasonably

14 calculated to lead to the discovery of admissible evidence. (See Brokopp v. Ford

15 Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases, Responding Party objects

16 that the request is unduly burdensome, harassing, and oppressive. Objection. This

17 request is irrelevant in violation of California Code of Civil Procedure §

18 2030.030(a)(1). This demand potentially calls for the disclosure of information and
19 documents that are proprietary and trade secret.     Responding Party objects to this
20 interrogatory on the grounds that it is overbroad, burdensome, oppressive and

21 harassing as to scope and time. Objection, this request is also overly broad and not

22 reasonably calculated to lead to discovery of admissible evidence. Further, this

23 request unintelligible as Defendant did not file a cross-complaint and thus does not

24 allege any causes of action.

25        Responding Party does not allege any causes of action and does not allege that
26 an incident did not occur.

27        After a diligent search and reasonable inquiry, Responding Party will comply
28 with this request and produce all non-privileged, responsive documents within its
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 1 possession, custody and control upon agreement by the parties that such documents

 2 are subject to the parties' Stipulation and Protective Order. Pursuant to this order,

 3 Target will produce the following confidential documents: a link with the video

 4 footage that captures the incident.

 5        Discovery and investigation are ongoing. Responding Party reserves the right
 6 to amend and/or supplement these responses as additional information or

 7 documentation becomes available.

 8 REQUEST FOR PRODUCTION NO. 10:

 9        Any and all DOCUMENTS evidencing crime, robbery, violence, felony,
10 assault and battery faced in all jurisdictions by Defendant.

11 RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

12        Objection. This request assumes facts not in evidence and is vague and
13 ambiguous as to "evidencing crime, robbery, violence, felony assault and battery

14 faced in all jurisdictions." Objection. This request is not reasonably calculated to lead

15 to the discovery of admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71

16 Cal.App.3d 841, 851. On these bases, Responding Party objects that the request is

17 unduly burdensome, harassing, and oppressive. Objection. This request is irrelevant

18 in violation of California Code of Civil Procedure § 2030.030(a)(1). This demand
19 potentially calls for the disclosure of information and documents that are proprietary

20 and trade secret. Responding Party objects to this interrogatory on the grounds that

21 it is overbroad, burdensome, oppressive and harassing as to scope and time.

22 Objection, this request is also overly broad and not reasonably calculated to lead to

23 discovery of admissible evidence. Further, this request unintelligible as and

24 Defendant cannot provide a response as the request is phrased.

25        Upon information and belief: After a diligent search and reasonable inquiry,
26 Responding Party is unable to comply with this request as responsive documents are

27 not known to exist and have never been in the possession, custody or control of

28 Responding Party as Responding Party does not allege any causes of action and does
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 1 not allege that an incident did not occur.

 2            Discovery and investigation are ongoing. Responding Party reserves the right
 3 to amend and/or supplement these responses as additional information or

 4 documentation becomes available.

 5 REQUEST FOR PRODUCTION NO. 11:

 6            Any and all photographs or video recordings depicting any condition that
 7 DEFENDANT contend did NOT caused or contributed to the INCIDENT.

 8 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

 9            Objection, this request is vague and ambiguous as to "any condition that
10 Defendant contend did not caused or contributed to the incident." Objection. This

11 request is not reasonably calculated to lead to the discovery of admissible evidence.

12 (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases,

13 Responding Party objects that the request is unduly burdensome, harassing, and

14 oppressive. Objection. This request is irrelevant in violation of California Code of

15 Civil Procedure § 2030.030(a)(1). This demand potentially calls for the disclosure of

16 information and documents that are proprietary and trade secret. Responding Party

17 objects to this interrogatory on the grounds that it is overbroad, burdensome,

18 oppressive and harassing as to scope and time. . Further, this interrogatory calls for
19 disclosure of information which is violative of the right to privacy as specified in

20 California Constitution Article 1, Section 1.Objection, this request is unintelligible

21 and Responding Party cannot respond to this interrogatory as phrased.

22            Discovery and investigation are ongoing. Responding Party reserves the right
23 to amend and/or supplement these responses as additional information or

24 documentation becomes available.

25 REQUEST FOR PRODUCTION NO. 12:

26            Any and all radiological unedited films, studies or photographs in YOUR
27 possession, custody, or control that PROOF, INCIDENT did NOT occur.

28
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                     PRODUCTION PROPOUNDED BY PLAINTIFF BRYON JACKSON
     Case 3:21-cv-08458-LB Document 118-2 Filed 01/25/24 Page 16 of 22




 1 RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

 2        Objection, this request is vague and ambiguous as to "Any and all radiological
 3 unedited films, studies or photographs in YOUR possession, custody, or control that

 4 PROOF, INCIDENT did NOT occur." Objection. This request is not reasonably

 5 calculated to lead to the discovery of admissible evidence. (See Brokopp v. Ford

 6 Motor Co. (1977) 71 Cal.App.3d 841, 851. On these bases, Responding Party objects

 7 that the request is unduly burdensome, harassing, and oppressive. Objection. This

 8 request is irrelevant in violation of California Code of Civil Procedure §

 9 2030.030(a)(1). This demand potentially calls for the disclosure of information and

10 documents that are proprietary and trade secret.    Responding Party objects to this
11 interrogatory on the grounds that it is overbroad, burdensome, oppressive and

12 harassing as to scope and time. . Further, this interrogatory calls for disclosure of

13 information which is violative of the right to privacy as specified in California

14 Constitution Article 1, Section 1.Objection, this request is unintelligible and

15 Responding Party cannot respond to this interrogatory as phrased.

16        Discovery and investigation are ongoing. Responding Party reserves the right
17 to amend and/or supplement these responses as additional information or

18 documentation becomes available.
19 REQUEST FOR PRODUCTION NO. 13:

20        Any and all DOCUMENTS that refer or relate to, or support, any evidence
21 DEFENDANT claim, PLAINTIFF did NOT sustain injures as a result of the

22 INCIDENT and/or any act, omission or conduct by TARGET.

23 RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

24        Objection, this request is vague and ambiguous as to "any evidence Defendant
25 claim." Objection. This request is not reasonably calculated to lead to the discovery

26 of admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

27 851. On these bases, Responding Party objects that the request is unduly burdensome,

28 harassing, and oppressive. Objection. This request is irrelevant in violation of
   4893-7827-5373.1                      15                     Case No. 3:21-cv-08458-LB
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 1 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

 2 for the disclosure of information and documents that are proprietary and trade secret.

 3 Responding Party objects to this interrogatory on the grounds that it is overbroad,

 4 burdensome, oppressive and harassing as to scope and time. .                Further, this
 5 interrogatory calls for disclosure of information which is violative of the right to

 6 privacy as specified in California Constitution Article 1, Section 1. Objection. This

 7 request seeks Target's confidential and proprietary documents, that may be produced

 8 following the Court's signing of the Stipulated Protective Order. After a diligent

 9 search and reasonable inquiry, Responding Party will comply with this request and

10 produce all non-privileged, responsive documents within its possession, custody and

11 control upon agreement by the parties that such documents are subject to the parties'

12 Stipulation and Protective Order. Pursuant to this order, Target will produce the

13 following confidential documents: a link with the video footage that captures the

14 incident.

15        Discovery and investigation are ongoing. Responding Party reserves the right
16 to amend and/or supplement these responses as additional information or

17 documentation becomes available

18 REQUEST FOR PRODUCTION NO. 14:
19        Any and all DOCUMENTS from DEFENDANT to PROOF no INDIDENT
20 and INJURIES occur, as in the claims against TARGET.

21 RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

22        Objection, this request is vague and ambiguous as to "any evidence Defendant
23 claim." Objection. This request is not reasonably calculated to lead to the discovery

24 of admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

25 851. On these bases, Responding Party objects that the request is unduly burdensome,

26 harassing, and oppressive. Objection. This request is irrelevant in violation of

27 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

28 for the disclosure of information and documents that are proprietary and trade secret.
   4893-7827-5373.1                         16                      Case No. 3:21-cv-08458-LB
         DEFENDANT TARGET CORPORATIONS' RESPONSE TO FIRST SET OF REQUESTS FOR
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 1 Responding Party objects to this interrogatory on the grounds that it is overbroad,

 2 burdensome, oppressive and harassing as to scope and time. .              Further, this
 3 interrogatory calls for disclosure of information which is violative of the right to

 4 privacy as specified in California Constitution Article 1, Section 1. Objection. This

 5 request seeks Target's confidential and proprietary documents, that may be produced

 6 following the Court's signing of the Stipulated Protective Order. After a diligent

 7 search and reasonable inquiry, Responding Party will comply with this request and

 8 produce all non-privileged, responsive documents within its possession, custody and

 9 control upon agreement by the parties that such documents are subject to the parties'

10 Stipulation and Protective Order. Pursuant to this order, Target will produce the

11 following confidential documents: a link with the video footage that captures the

12 incident.

13        Discovery and investigation are ongoing. Responding Party reserves the right
14 to amend and/or supplement these responses as additional information or

15 documentation becomes available

16 REQUEST FOR PRODUCTION NO. 15:

17        Any and all DOCUMENTS to reject PLAINTIFF claims.
18 RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
19        Objection, this request is vague and ambiguous as to "any evidence Defendant
20 claim." Objection. This request is not reasonably calculated to lead to the discovery

21 of admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

22 851. On these bases, Responding Party objects that the request is unduly burdensome,

23 harassing, and oppressive. Objection. This request is irrelevant in violation of

24 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

25 for the disclosure of information and documents that are proprietary and trade secret.

26 Responding Party objects to this interrogatory on the grounds that it is overbroad,

27 burdensome, oppressive and harassing as to scope and time. .              Further, this
28 interrogatory calls for disclosure of information which is violative of the right to
   4893-7827-5373.1                          17                   Case No. 3:21-cv-08458-LB
         DEFENDANT TARGET CORPORATIONS' RESPONSE TO FIRST SET OF REQUESTS FOR
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 1 privacy as specified in California Constitution Article 1, Section 1. Objection. This

 2 request seeks Target's confidential and proprietary documents, that may be produced

 3 following the Court's signing of the Stipulated Protective Order. After a diligent

 4 search and reasonable inquiry, Responding Party will comply with this request and

 5 produce all non-privileged, responsive documents within its possession, custody and

 6 control upon agreement by the parties that such documents are subject to the parties'

 7 Stipulation and Protective Order. Pursuant to this order, Target will produce the

 8 following confidential documents: a link with the video footage that captures the

 9 incident.

10        Discovery and investigation are ongoing. Responding Party reserves the right
11 to amend and/or supplement these responses as additional information or

12 documentation becomes available

13 REQUEST FOR PRODUCTION NO. 16:

14        Any and all DOCUMENTS that tend to prove, disprove, or in any way relate
15 to or support YOUR contention that TARGET's employee did NOT assault

16 PLAINTIFF on the PROPERTY on the date of the INCIDENT that cause

17 PLAINTIFF'S injury.

18 RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
19        Objection, this request is vague and ambiguous as to "any evidence Defendant
20 claim." Objection. This request is not reasonably calculated to lead to the discovery

21 of admissible evidence. (See Brokopp v. Ford Motor Co. (1977) 71 Cal.App.3d 841,

22 851. On these bases, Responding Party objects that the request is unduly burdensome,

23 harassing, and oppressive. Objection. This request is irrelevant in violation of

24 California Code of Civil Procedure § 2030.030(a)(1). This demand potentially calls

25 for the disclosure of information and documents that are proprietary and trade secret.

26 Responding Party objects to this interrogatory on the grounds that it is overbroad,

27 burdensome, oppressive and harassing as to scope and time. .              Further, this
28 interrogatory calls for disclosure of information which is violative of the right to
   4893-7827-5373.1                          18                   Case No. 3:21-cv-08458-LB
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 1 privacy as specified in California Constitution Article 1, Section 1. Objection. This

 2 request seeks Target's confidential and proprietary documents, that may be produced

 3 following the Court's signing of the Stipulated Protective Order. After a diligent

 4 search and reasonable inquiry, Responding Party will comply with this request and

 5 produce all non-privileged, responsive documents within its possession, custody and

 6 control upon agreement by the parties that such documents are subject to the parties'

 7 Stipulation and Protective Order. Pursuant to this order, Target will produce the

 8 following confidential documents: a link with the video footage that captures the

 9 incident.

10            Discovery and investigation are ongoing. Responding Party reserves the right
11 to amend and/or supplement these responses as additional information or

12 documentation becomes available

13

14

15 DATED: September 7, 2022                MANNING & KASS
16
                                           ELLROD, RAMIREZ, TRESTER LLP

17

18
                                           By:         /s/ Gabriella Pedone
19                                               David Roth
20                                               Gabriella Pedone
                                                 Attorneys for Defendant, TARGET
21                                               CORPORATION
22

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     4893-7827-5373.1                        19                    Case No. 3:21-cv-08458-LB
             DEFENDANT TARGET CORPORATIONS' RESPONSE TO FIRST SET OF REQUESTS FOR
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 1                                       PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 801 S.
 4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

 5         On September 7, 2022, I served true copies of the following document(s) described as
   DEFENDANT TARGET CORPORATIONS' RESPONSE TO FIRST SET OF REQUESTS
 6 FOR PRODUCTION PROPOUNDED BY PLAINTIFF BRYON JACKSON on the interested
   parties in this action as follows:
 7
                                    SEE ATTACHED SERVICE LIST
 8
           BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
 9 persons at the addresses listed in the Service List and placed the envelope for collection and
   mailing, following our ordinary business practices. I am readily familiar with the practice of
10 Manning & Kass, Ellrod, Ramirez, Trester LLP for collecting and processing correspondence for
   mailing. On the same day that correspondence is placed for collection and mailing, it is deposited
11 in the ordinary course of business with the United States Postal Service, in a sealed envelope with
   postage fully prepaid. I am a resident or employed in the county where the mailing occurred. The
12 envelope was placed in the mail at Los Angeles, California.

13         ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the document(s) to the
   persons at the e-mail address(es). This is necessitated during the declared National Emergency
14 due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
   able to send physical mail as usual, and is therefore using only electronic mail. No electronic
15 message or other indication that the transmission was unsuccessful was received within a
   reasonable time after the transmission. We will provide a physical copy, upon request only, when
16 we return to the office at the conclusion of the National Emergency.

17        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
18 Court at whose direction the service was made.
19          Executed on September 7, 2022, at Los Angeles, California.

20

21                                                           /s/ Sandra Alarcon
                                                      Sandra Alarcon
22

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     Case 3:21-cv-08458-LB Document 118-2 Filed 01/25/24 Page 22 of 22




 1                                    SERVICE LIST
                    Jackson v. Target Corp; Case No. 3:21-CV-08458-LB
 2

 3 Bryon Jackson                               Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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